Case 2:10-md-02179-CJB-DPC Document 1429-3 Filed 02/28/11 Page 1 of 31

= Fes!

FOIA 2010-028000004

James H. Dupree
President’

BFP Exploration and Production Ine.

200 Westlake Park Boulevard (770761
Post Office Box 3692
Housinty TX 77253-9092

Direct: 28) 366-5619
Fac 281 386-4300

VIA. CERTIFIED MAIL #70091680000063880219
May 3; 2010

Thomas Morrison

US. Coast Guard

Chief, Claims Division

US Coast Guard Stop 7100

4200 Wilson Boulevard, Ste. 1000
Arlington, VA 10598-7100

Re: DEEPWATER HORIZON
FPN: N10036

Dear Mr. Morrison:

~~ ~~" Exploration is fully conitiitted to midertaking the oil spill response actions required pursuant to

OPA.

This incident was the result of an accident on the mobile offshore drilling unit DEEPWATER
HORIZON, which was entirely owned and operated by Transocean. BP Exploration
understands that the Coast Guard has similarly designated Transocean as a responsible party in.
this matter. BP Exploration accepts its designation by the Coast Guard as a responsible party
in this matter with a full reservation of rights with respect to any and all other parties.

_— contact the undersigned Jie you have any questions or comments about
8.

Yours very truly,

EXHIBIT
Case 2:10-md-02179-CJB-DPC Document 1429-3 Filed 02/28/11 Page 2 of 31

FOIA 2010-G26000002

U.S. Department of DIRECTOR a, US COAST GUARD STOP 7100

Homeland Security NATIONAL POLLUTION FUNDS CENTER 4200 WILSON BLVD ST 1000
jarence - 20898-7100

United States bol:

Coa Phone: 202-493-8991

ot Guard Tall-Free: 1-800-358-2887 Ext: 36834

FAX: 202-493-8997
Emel: Thomas.S.Menisan@iueog.mil

16480
April 28, 2010

CERTINIED MAIL: 7008 3230 0001 9$75 2532 (AP Corporation North Amerioa, Inc)

BP Exploration & Production Fic.

200 Westlake Park Boulevard

Honstan, TX 77079
RE: DEEPWATER HORIZON
FPN: N10036

Dear Six:

Gn or about April 21, 2010 an incident under the Oil Pollution Act of 1990, 33 USC § §. 2701 et seq,, occitred
approximately 45 miles offshore from Louisiana on Mississippi Canyon Block 252 in the Gulf of Mexico. The
incident involved an explosion and fires on the Mobile Ofishore Drilling Unit (MODU) Deopwater Horizon, which
subsequently sank. Our information iidicates that the resulting oil discharges include discharges from the MODU
on or above the surface of the water as well as angoing discharges. of off from the well head. This notioe designates
the offshore facility aga source of an oil discharge parsuant to 33 USC § 2714 (a) and notifies BP Exploration &
Production inc., a responsible party, of its responaibility to advertise for claims. By copy of thie letter, we are. also
notifying: your guarantor, BP Corporation North AmérioaInc., of this designation and ita responsibility for
adveztiaing.

Unless you deny designation purguant to 33 USC §:2714 (6) you nat publicty advertise this designation and the
procedures by which claims may be presented to you. The advertisement must begin within 15: days of the date of _
this letter end raiet continus for mo Tess than 30 days. Enclosure (1) ontlines the required content of this
advertisement and encldeure (2) ie a sample advertiseinent. You may choose to fallow this sample but are not
required to do 30 a8 Jong aa your advertisement contaice the required information, Your advertisement must be
disseminated in such a mannor that all potential cJaimants:are notified, To accomplish this, we require that you
-—- -  adyartise in the newapapes(s) having geneval-ciroulation-in-the area(s) where claimants my be-nffected.Woelso— —-. --— -— ——
require that you post notices in marinas, marine supply stores, bait and tackle shops Jocatod im the sréas impacted by
ths incident, You must also provide direct notification where individuals have been identified as receiving damages
from your spill, You may propose other methods of advertisement and notification, but they may be weed only whea.
approved it advante by the Nations! Pollution Funds Center. The acivertisemeat mst note that a claimant may
‘present a claim for interim short-term damages representing lees than the full smoupt to which the claimant
ultimately may be entitied. And that pzyment of such cleim shall not preclude recovery for damages not reflected in
the paid or setiled partial claim, Becanse of the pafantial magnitade of this incident additional advertising may be

required,

You are directed to inform ug of the specifics of your advertising, including the name of any newspaper(s) or other,
publication(s) in which the advertisements ran, the geographical area obvered by the publications, and how often the
advertisement will appear, as appropriate, Send us copies of the advertisement and advise us in writing that you
have began advertising within 20 days of reosipt of this letior, If we da not receive these deouments, we will
assume that you did not comply. Ifyou do not comply with these requirémants, the National Pollution Ponda Center
will advertise for claime. If we advertise, you will be charged for our costs, as well as for the costa of any
administration, adjudication, and payment of claims.
Case 2:10-md-02179-CJB-DPC Document 1429-3 Filed 02/28/11 Page 3 of 31

FOIA .2010-028000003

Subj: DEEPWATER HORIZON . 16480
April 28,.2010

You may deny this deaignation within 5 days.of receipt of this Notice of Designation. Your desial must Ge in
writing, identify this Notice of Designation, give the yeaadne forthe denial, inoludo'a copy of all supporting:

coma and snmet be submitted to ‘Thomas Morrizon at the dhove.addrese, Ifyou dey this designation, the

‘Natlonal Polfntion Funds Center will advertise for claims. If we advertiae, you may be oharged for our costs.

Tf yon have any questions you may contact me st (202)493-6831 ox you may contact JE! (ay

US. Coast Guard
Chief, Claims Division,

oe BP Corporation North Amecion, Inc, 505 Westlake Pack Boulevard, Houston, TX 77079

Baoloeurs: (1) Content of Advertisement
(2) Sample Advertisement
Case 2:10-md-02179-CJB-DPC Document 1429-3 Filed 02/28/11 Page 4 of 31.

FOV 20:10-026000004
Content of Advertisement
Bach advertisement/notification is to contain the following information or to indicate where this information may be
contained:
1, Location, date and tinie of the incident.
2. Geographical area affected.
3 Quantity of cil involved.
4, ‘Name or other description of the designated souros.
5 Namo of ths. responsible party (you).
6 ‘Name, address, telephone number, office hours, and workdays of the person or persons fo wham claims are

to ba presented end from whote claim information can be obtained.

7. ‘The proceduxes by which a claim. may be presented, inoluding a statement that incicates that claimant may
present'a claim for interim short-term damages representing lees than the fall amonnt to which the claimant
ultimately may be entitled. Payment of such claim shell not preclude recovery for damages not reflected in

8. Notification that if you deny or do.not resolve a claim within 90 days after the date:of submission, the
claimant may thon submit the claim the National Polintion Funds Center (ca), 4200 Wilson. Boulevard,
Suite1000, Azlington, VA 22203-1804, fir our consideration. We will then evaluate the claim and tale
sppropriate action.

9. ‘Unies uoted below, the advortinamnctit/notification must be in Riglah.
Case 2:10-md-02179-CJB-DPC Document 1429-3 Filed 02/28/11 Page 5 of 31

FOIA 210-026006005

Sample Advertisement
PUBLIC NOTICE

In nocordatice with the Oil Polintion Act of 1990 (33 USC § 2714(c)), an offthore oi! well loonted in the Mississippi
Canyon Block atea in the Gulf of Mexico hns been named as the source of an oil discharge that commenced on or
about April 21, 2010. ‘This spill impaoted the Missiasippi Cenyon Block 252 arcs, and aa the leeses of the ares
where the well was located, BP Exploration & Production Ino. is acceptiig alaitis for carinin mmcompsnented
damages and removal costs.

Removal costs end demages which may bs compensated include removal. costa: damage to natural resources;
damage to os lors of real or personal property; loss of snbsiatenos use of natural resouross; loss of goverment
revemues; Joss of profits and camings capacity; and increased cost of public services,

Claims should be in writing, signed by the claimant, for a specified amount; and should incinde all evidencs to
support the damages, Claims presented may include olaime for interim short-term. damages representing less than
the full ariount to whioh the claimant ultimately may be entitled. It should be noted that payment of such claim
ta or peeeioce seoernry St Geman ro reload in Reagan Se Rs en Claims should be mailed

to the following address:
[Address to which clatine should be seat]

Office hours are from 9:00 AM to 5:00 PM EST, Monday through Pridey, exoopt holidays. Claictants may call
[teléphons nuniber for claimal fir inforinstion.

Any claims which are denied or which are not xesolved within 90 days after the date of submission to our claims
may. be submitted to the National Pollution Fonds Conier (ca), 4200 Wilson Bivd., Suite 1000,
Actingtm, VA 22203-1804 for considecation
Case 2:10-md-02179-CJB-DPC Document 1429-3 Filed 02/28/11 Page 6 of 31

FOIA 2010-026000006

ee eneranenee Ne CRONAL POLLUTION FUNDS CENTER a WILAON ELYO STE ,
ri ATION.

Homeland Security ArLING TON vA aaa Fitn

. es: yn 5 ; i

United State Phene: 202-493-8894
Toll-Free: 4-800-358-2847 Ext, 36831
FAX: 202-493-6837
Emait Thomas.S,Mortason@useg lt

16480
April 28, 2010

CERTIFIED MAIL: 7008 3230 0601 9575 2563

Transocean Holdings Incorporated

PO Box 2765

Houston, TX 77252-2765.
RE: DEEPWATER HORIZON
FPN: N10036:

Dear Sir:

On or about April 21, 2010 an incident under the Oil Pollution Act of 1990 (OPA), 33. USC § § 270) et. séq:,
occurred approximately 45 miiles offshore from Louisiana on Mississippi Canyop Block 252 in the Gulfof Mexiso,
‘The incident involved an explosion, and fires on the Mobile Offshore Drilling Unit (MODU) Despwater Horizon,
which subsequently sank. Our information indicates’ that the resulting oil discharges include discharges from the
MODIU on or above the surface of the water as weil-as ongoing discharges of oil from the well head. This notice
designates the: MODU as a source of an oil discharge pursuant to 33 USC §2714(a) and notifies Transocean
Holdings Incorporated, 2 responsible party, of its respongibility to advertise for claims. By copy of this letter, we are
also notifying your guarantor, QBE Underwriting Lid, Lioyds Syndicate 1036, of this designation and its
responsibility for advertising.

Unless you. deny designation pursuant to 33 USC §2714(b) you must publicly edvertize this designation and the

edures by which claims may be presented. to you. The advertisement must begin within 15 days of the date of
this lettér and inist continue for no less than 30 days, Enclosure.(1} outlines the required content of this
advertisement and enclosure (2)-is a sample advertisement. You may choose to follow this sample but are not
required to do so as long.as your advertisement contains the required information, Your advertisement must be
disseminated in such a manner that all potential claimants are notified. To accomplish this, we require that you
advertise in the newspaper(s) having general circulation in the area(s). where claimants may be affected. We aiso
require that you post notices im marinas, marine supply stores, bait and tackle shops located in the areas impacted by
the incident. You must also provide direct notification where individuals have been identified as receiving damag
from your spill, You may propose other methads of advériiserent and notification, but they may be used only when
approved in advance by; the National Pollution Funds Ceater. The advertisement must note that-a claimarit may
present a claim for interim short-term daniages representing less than the full amount to which the claimant
ultimately may be entitled. And that payment of such claim shall not preclude recovery for damages not reflected in
the paid or settled partial claim. Because of the potential magnitude ofthis incident additicnal advertising may be
required,

You are directed to inform us of the specifics of your advertising, inclading the name of any newspaper or otlier
publicution in which the advertisement is run, the geographical area covered by the publication, and haw often the
ddvertisement-will appear, as appropriate. Send us copies of the advertisement and advise us in writing that you
have begun advertising within 20 days of receipt of this letter. If we do not receive these documents, we will
sssume that you did not comply. Ifyou do not comply with these requirements, the National Pollution Fands,Center
will advertise for claims. If we ndvertise, you will be charged for our costs, a5 well as.for the costs of any
administration, adjudication, and payment of clainis,

You may deny this designation within 5: days.of receipt of this Notice of Designation, Your denial must be in
writing, identify this Notice of Designation, give the reasons for the denial, include a copy. of all nipportins
Case 2:10-md-02179-CJB-DPC Document 1429-3 Filed 02/28/11 Page 7 of 31

FOIA 2010-026000007

Subj; DEEPWATER HORIZON 16480
‘April 28, 2010

documents, and must be submitted to Thomas Morrison at the above address. If you deny this designation, the
National Potlution Funds Cexiver will advertise for claims. If we advertise, you may be charged for our costs,

—_ have-any questions you may confact mie at (202)493-6831 or you may contact iz

Sincerely,

US. Coast Guard
Chief, Claims Division

ot: QBE Underwriting, Lid., Lloyds Syndicate 1036, Mssrs Mendes and Mount Jnc., 750 Seventh
Avenue, New York, NY 10019-6829, USA.

Enclosure: (1) Content of Advertisement
(2) Sample Advertisement
Case 2:10-md-02179-CJB-DPC Document 1429-3 Filed 02/28/11 Page 8 of 31

FOIA 2010-026000008

Content of Advertisement

Each advertisement/notification is to contain the following information or to indicate where this information may-be
contained:

1,
2,
3.

Location, date-and time of the intident.
Geopraphioal area affected,

Quantity of oil involved,

Nante or other description of the designated sourte,
Name of the responsible party (you).

Name, address, telephone number, office hours, and workdays of the person or persona to whom claims are
to be presented and from whore claim information can be obtained.

The procedures by which a claimn may be presented, iacluding 2 statement that indicates that claimant may
presenta claim for interim short-term damages representing less than the full amount.to which the clairant
ultimately may be-entitled, Payment of such oldim shall not preclude recovery for damages not refiected in
the paid or settled partiat claim,

Notification that if you deny or do not regolve a claim within 90 days after the date of submission, the
claimant may then submit the claim to the National Pollution Funds Center (ca), 4200 Wilson Boulevard,
Suite 1000, Arlington, VA 22203-1804, for our consideration, We will then evaluate the claim and take
appropriate action.

Unless noted-below, the advertisement/notification must be in English.
Case 2:10-md-02179-CJB-DPC Document 1429-3 Filed 02/28/11 Page 9 of 31

FOIA 2010-026q00009

Sample Advertisement

PUBLIC NOTICE

Tn accordance with the Oil Pollution Act of 1990 (33 USC § 2714(c)), an ofthore ofl well located in the Mississippi

Block area in the Gulf of Mexico-has been named as the source of an oil discharge that commenced on or
about April 21, 2010, This spill impacted the Mississippi Canyon Block 252 area, and as the lessee of the area
qwhere the well was located, BP Exploration & Production Inc. is accepting claims for certain uncompensated
damages and removal costs.

Removal costs and damages which may be compensated include removal costs; daniage to natural resources;
darhage to or Idss of real or personal property; loss of subsistence use of natural resources; loss of government
revenues; loss of profits and earnings capacity; and increased cost of public services.

Claims should be in writing, signed by the claimant, for a specified amount; dnd‘should inchide:all evidence to
support the damages. Claims presented may include claims, for interim short-term demages representing less than
the full amount to which the claimant ultimately may be entitled, It should be noted that payment of such claim
shall not preclude recovery for damages not reflected in the paid or settled partial claims; Claims.-should be mailed
to the following. address:

[Addveas to which claims should be sent]

‘Office hours are:from 9:00: AM to 5:00 PM. EST, Moniday through Friday, except holidays. Claimants may cal]
[tetephone qumbér far claims) for information.

Any claims which are denied ar which are not resolved within 90 days after the date of submission te our claims
representative may be submitted to the National Pofiution Funds Center (ca), 4200 Witsan Blvd., Suite 1000,
Arlington, V.A 22203-1804 for consideration.
Case 2:10-md-02179-CJB-DPC Document 1429-3 Filed 02/28/11 Page 10 of 31

FOIA 2010-026000010
WALL, STREET PLAZA
86 PINE STREET

ue a Mi awiSoLEGn SEVENTH FLOOR MICHAEL MARKS COKEN ,
DAVID R. HORNIG © NEW YORK, NY 10005-1801 ‘OF COUNSEL
ne TELEPHONE 212-220-3830
RocenGeaee TELECOPIER 212-220-3760 NEW JERSEY OFFICE:
ee ETL erate, E-MAIL: general@qlcolettiharnig.cam BOS MAIN STREET, BUITE 218
MICHAL K, MoGOWAN , WEBSITE: www.nicolettiherig.com ENERGON EL SSO ane
VINCENT A. BUBA ' TELEPHONE 201-343-0970
SAMUEL 6. SOLUZZIt TELECOPIER 201-34a8-5esz

GUERRIC S.D.L. RUSSELL TS
LINDA B. LIN 6

VAL WAMEER +

KEVIN J.B. O'MALLEY
WILUAM M. PENNELL
SGOTT O. CLAUSEN F
NATRANIEG L. EICHLER +
FARA RITTON T

JAMES 6. MORRIS at

DAVID E. SIGHON t May 3, 2010

+ AL@O-ADMITTED IN TEXAS

T AGSO AOMITTED IN NY JERSEY.
O-ALEO AOMHITED IN CALIFORNIA
4. ALSO. ADMITTEG tw WAR_ANG

Mr, Thomas S. Morrison
Chief, Claims Division
National Pollution Fund Center
United States Coast Guard
4260 Wilson Blvd. Ste. 1000
Arlington, VA 20598-7100

Re: DEEPWATER HORIZON
Your FPN: N10036.
Dear Mr. Morrison: _ 8

Further te our conversation this mofning, we confirm that on April 29, 2010,
Transocean Holdings LLC, misidentified in your letter. as Transocean Holdings, Inc. (“Transocean”)
received your letter of April 28, 2010 advising that Transocean had been designated a Responsible
Party under the Oil Pollution Act of 1990, 33 U.S.C. §§ 2701 et seg. (“OPA"), in comection with
discharge of oil after the explosion and fire aboard the Mobile Offshore Drilling Unit (MODU”)
DEEPWATER HORIZON that occurred approximately 45 miles offshore from Louisiana on the
Mississippi Canyon Block 252 in the Gulf of Mexico.

Transocean is cooperating with fhe Coast Guard and will continue to do ‘sp,
Transocean understands that BP received a similar notification letter and is.in communication with
BP concerning the required advertisement of the claims process’to be established under OPA. More
details about the advertising will be provided in due course.
Case 2:10-md-02179-CJB-DPC Document 1429-3 Filed 02/28/11 Page 11 of 31

FOIA 2040-026000011

May 3, 2020
Page 2

OPA designates Transocean, as the owner of the MODU DEEPWATER
HORIZON, as a responsible party for any oil discharge that occurs on or above. the suiface of the.
water, 33.U.S.C. § 27040). However, your letter also references “ongoing discharges from the
well head” which are occucring nearly a mile under the surface of the water. To the extent your
letter of April 28, 2010 is intended to designate Transocean as a responsible party for any
underwater discharges of oil from the well head, Tranocean denies your designation of it as the
responsible party. Furthennore, while Transocean will continue to fulfill all of its obligations as a
designated Responsible Party under OPA, it reserves all of its rights ‘and defenses under OPA.

if you have any questions or require any additional assistance from Transocean,

Very truly yours,

please: con

NICOLETTI HORNIG & SWEENEY

By:

Case 2:10-md-02179-CJB-DPC Document 1429-3 Filed 02/28/11 Page 12 of 31

FOIA 2010-026D0000

Jamee H. Duprae
Propident

BP Exploration and Production Inc,

200 WeetLake Park Bouleveird (77079)
Post Office Bax 3092
Houstan TX 77263-3062

Direct: 261 346-5519
Fax: 281 366-4200

VIA CERTIFIED MAIL #70091680000063880219
May 3, 2010

Thomas Morrison

U.S. Coast Guard

Chief, Claims Division

US Coast Guard Stop’7100

4200 Wilson Boulevard, Ste. 1000
Arlington, VA, 10598-7100

Re: DEEPWATER HORIZON
FPN: Ni0036

Dear Mr. Morrison:

This letter is in response to. your letter of April 28, 2010, designating BP Explotation &
Production Inc. (“BP Exploration”) as a responsible party for the oil spill arising from the
sinking of the DEEPWATER HORIZON. BP Exploration acknowledges that it is a
“responsible party” under the Oil Pollution Act (OPA), 33 U.S.C. § 2701, et seq., and accepts
its designation as a responsible party pursuant to your letter of April 28, 2010. As such, BP

“Bxplotation is fully committed to undertaking the Oi] spill response actions requited pursuant to
OPA. '

This incident was the result of an accident on the mobile offshore drilling unit DEEPWATER
HORIZON, which was entirely owned and operated by Transocean. BP Exploration
understands that the Coast Guard has similarly designated Transocean as a responsible party in
this matter. BP Exploration accepis its designation by the Coast Guard as a responsible party
in this matter with a full reservation of tights with respect to any and all other parties.

— contact the undersigned me: you have any questions or comments about
$s

Yours very truly,
Case 2:10-md-02179-CJB-DPC Document 1429-3 Filed 02/28/11 Page 13 of 31

FOIA 2010-026000002.

os ~ NATIONAL POLLUTION FUND@ CENTER oEean pve STH 1000.
El B ‘000
Homeland Security im ASTON vaseoio
United States
ad Phorie; 202-499-6834
Coast G Toll-Free; 4-800-386-2807 Ext, 30831
FAX: 202-499-6097
Emaik: Thomas.S, Morisan@usdg. ll

16489
April 28, 2010

CRRTIPIED MATL: 7008 3230 0001 9575 2532 (8P’ Corporation North America, Ins)

BP Exploration & Prodnction Enc.

200 Westlake Park Boulevard

Houston, TX 77079
RE: DEEPWATER HORIZON
FPN: N10036

Dear Si:

On or zbout:Aprif 2%, 2010:an incident under the Of] Pollution Act of 1990, 33 USC § § 2701 ct, exq,, cccutred
approxicutely’ 45 miles offshore from Louisiana. on Mississippi Canyon Block 252 in the Gulf of Mexico, The
incident involved. an explosion and fires on the Mobile Offihore Drilling Unit (MODU) Deepwater Horizon, which
subsequently sank. Our information indicates that the rewuliing oil discharges include discharges from the MODU
on or above the surface of the water as welll as ongoing discharges of oil fiom the well head, This notice designates
the offshore facility az a source of an ofl discharge pursuant to 33 USC. §:2714 (a) and notifies BP Exploration &
Production Inc,, a responsible party, of its responsibility to advertise for claims. By copy of this letter, we are also
notifying your goaraniar BP Corporation North America Inc., of thia deaignation and ite responalhiiily for

Unless you deny designation pursuant to 33 USC § 2714 (b) you mnst publicly advertios thin designation and the
procedures by which claims may be presented to you. The advertisement must begin within 15 days of the date of _
thia letters. amd smmat comtime for no Ieee thim 30 days. Enclosure(‘I) outlines the required content of this
advertiecment and enclosure (2) iz a sample mdvertisernent. You may choose to follow this sample but are not
required to do so as long as your advextisomant contains the required information. Yout advertisemeist must be
disseminated in such a manger thai all potential claimants are notified. To accomplish this, we xequire that you
advertise in the newapaper(s)-having general-ciroulation-in. the sea(s)}-where claimants may be affected—We-aleo— -
require that you post notices in marinas, marine supply stores, buit and tickle ahopa located, it the areas impacted by
the incident. ‘You must also provide direct notification where individuals have heen identified as receiviig damages
from your spill, “You may propose other methods of advertisement and notification, but they may be used only when
approved in advance by the National Pollution Funds Center. The advertisement must note that a clainiant may
present a claim for mterinn shoxt-tenn daniages representing less than the full amount to which the claimant
ubimately may be entitled. And that payment of such claim shall not prectude recovery for damages not reflected mn,
the paid. or settled partial claim. Because of the potential magnitade of this incident. additional advertising may be
required,

You are directed 0 inform ug.of the specifics of your advertising, including the namie of uy mewspaper(s).or other
publication(s) in which the advertisements ron, the geographical area covered by the publications, and how offen the
advertisement will appear, as'appropriate, Send na copies of the advectisement aud advise us in writing that yon
have begun advértiding within. 20 days of receipt of this letter, Lf we do not receive these documents, we will
assume that you did not comply. If-you donot comply with these reduirements, the National Pollution Fands Center
will advertise for claims. If we advertise, you will be charged for our. costs, as well as for the poste of any
administration, adjadisstion, and payment of claims.
Case 2:10-md-02179-CJB-DPC Document 1429-3 Filed 02/28/11 Page 14 of 31

FOIA 2010-028000003

Subj: DREPWATER HORIZON . 16430
April 28, 2010

You may deny this designation within:5 days of receipt of this Notice of Designation. Your denial must be in
writing, identify thia Notice of Designation, give the reasons for tho denial, inclndo « copy of all supporting
documents, and mmst be subinitted to Thomas Mortisin at the above addrese, Ifyou deny this designation, the
National Pollution Funds Center will advertise for oleims. If we advertise, you may be charged for our costs.

mee ay questions you mnsy contact me at (202)493-6831 or you may opntact J: (i

Sincerely,

hhkler

U.S. Coant Guar
Chief, Claims Division

oot BF Corporation North America; Inc., 501 Weatlake Park Boulevard, Houston, TX 77579

Encleeute: (1) Content of Advertisement,
(2) Sample Advertisement
Case 2:10-md-02179-CJB-DPC Document 1429-3 Filed 02/28/11 Page 15 of 31.

FOIA 2010-026006004

Content of Advertisement

Rach advertisement notification 1a to contain the following information or to indioste where this information may be
coutigzined:

1

9,

Geographical ares. affected,
Quantity of oil firvolved,

Name or other description of the designated source.
Name of tho responsible party (you).

Name, address, telephone number, office hours, and workdays of the person or persons to whom claims are
to be presented and from whom claim information oan be obtained,

‘The procedures by which a claim may be presented, inching a statement that indicates that claimant may

present'a claim for interim short-term damages representing less than the full amount to which the claimant
ultimately may be entitled. Payment of such claim shall not preclude recovery for damages nat reflected in
the paid or acttled partial claim.

Notification that if you deny et do not resolve:2 alain within 90 days after the date of stilmnission, the

claimant may than submit tho claim to the Nations! Poltntion Funds Center (ox), 4200 Wileon Bovlevanl,
Suits 1090, =" VA 22203-1804, for our consideration, We will then evaluate the claim and takes

Unless noted below, the advertizement/notification must bs in Engliah,
Case 2:10-md-02179-CJB-DPC Document 1429-3 Filed 02/28/11 Page 16 of 31

FOIA 2970-D26000005

Sample Advertisement
PUBLIC NOTICE

In accordance with thie Of Pollution Act of 1990:(33 USC § 2714(0)), an offhore oil welll. looated in the Misvisnippi
Canyon Biock ates in the Gulf of Mexico has been named ap the source of am oi] discharge that commenced on or
about April 21, 2010, This spill impacted the Mississippi Canyon Block 252 arse, and as the lessee of the area
where the well was located, BP Exploration & Production Tne. Js accepting claiis for cartain wncompansated
dameges and removal casts.

Removal costs and damages which may be compensated include removal costs; damage to natural resources;
damage to or loss of real or. personal property; loss of subsistence use of natnral resowrens; loss of government
revennes; lous of profits and earnings capacity; and inoroased coxt of public services,

Claims shonid be in weiting, signed by the claimant, for a specified amount; and should include all evidence to
support the damages. Claims prosented: may inchide claims for interim ehort-term darnages representing lese than
‘the full agnount to which thé claimant witinately may be entitled. It chould he noted that payment of snc claim
an ee, Claims shouki be mailed
to

fAddrtess to whick claime should be seit]

Office hours are from 9:00 AM to 5:00 PM EST, Monday through Friday, except holidays. Claimants may call
[telephone munitier for claims] for information.

Any claims whick are denied or which arenot resolved within 90 days after the date of submission to our oleims
Tepresentative may be nibuaitted to the National Poliation Funds Center (ca), 4200 Wilson Bivd., Suite 1000;
Axlington, VA. 22203-1804 for consideration.
Case 2:10-md-02179-CJB-DPC Document 1429-3 Filed 02/28/11 Page 17 of 31

FOIA 2010-026000008

U.S. Dapartment of DIRECTOR US COAST GUARD STOP 7100
Homeland Security NATIONAL POLLUTION FUNDS CENTER. 4200 WILSON BLVD STE 1000
ARLINGTON VA 20698-7100

Staff Symbol: Ca
United States are Coraaeens

Coast Guard “Toll-Free: 1-800-358-2897 Ext. 6997
FAX: 202-499°8097
Email: Thomas.S. Momoson@uscegwnil

16480,
April 28, 2010

CERTIFIED MAIL: 7008 3230 0001 9575 2563

Transocean Holdings Incorporated

PO Box 2765

Houston, TX 77252-276$
RE: DEEPWATER HORIZON
FPN: N10036

Dear Sir:

Qi or abour April 21, 2010 an incident under the Oil Pollution Act of 1990 (OPA), 33 USC § § 270) et. seq.,
occurred approximately 45 miles offshore from Louisiana on Mississippi Canyon Block 252 in the Gulf of Mexico.
The incident involved an explosion and fires on the Mobile Offshore Drilling Unit (MODU) Deepwater Horizon,
which subsequently sank. Our information indicates that the resulting oil discharges inchide discharges from the
MODU on or above the surface of the water us well as ongoing discharges of oil from the well head. This notice
designates the MODU as.a source of an oil discharge pursnant to 33 USC §2714{a) and notifies Transocean
Holdings Incorporated, a responsible party, of its responsibility to advertise for claims. By sopy of this letter, we aré
also notifying your guarantor, QBE Underwriting Ltd, Lloyds Syndicate 1036, of this designation and its
responsibility for advertising.

Unless you:deny designation pursvant to 33 USC §2714(b) you must publicly advertise this designation and the
provedures by which'claims may be presented.to you. The advertisement must begin within 15 days of the date of
this letter ‘and must continne for no less then 30 days. Enclosure (1) outlines the required cantent of this
advertisement and enclosure (2) is.a sample advertisement. You miny chioase to follow this sample but are not
required to do sd as long as your advertisement contains the required information. Your advertisement gust be
disseminated in such a manner that all potential claimants are notified. To accomplish this, we require that you
advertise in the newspaper(s) having general circulation in the area(s) where claimants may be affected, We also
require that you post notices in marinas, marine supply stores, bait and tackle shops located in.the areas impacted by
the incident. Youmust also provide direct notification where individuals have been identified as receiving: damages — —
from your spill. You may propose other methods of advertisement and notification, bat they may he used only when
approved in advance by the National Pollution Funds Center. The advertisement must note that a claimant may
present.a claim for interim short-term dantages representing léss than the full amount to which the claimant
ultiinately may be entitled. And that paymentof such claim shall not preclude recovery for damages-not reflected in
the paid or settled partial claim. Because of the potential magnitude-of this incident additional advertising may ba

You ate directed to inform us of the specifics of your advertising, including the name of any newspaper or otlier
publication in which the advertisement is run, the geographical area covered by the publication, and how offen the
advertisement will appear, as appropriate. Send us copies of the advertisement and advise us in writing: that you
have begun advertising within 20 days of receipt of this:letter. If-we do not receive these documents, we will
assume that-you didnot comply, If you do not comply with these requirements, the National Pollution Funds Center
will advertise for claims. If we advertise, you will be charged for our costs, as well as for the costs of any.
administration, adjudication, and pzyment of claims,
You may deny this designation within 5 days of receipt ofthis Notice of Designation. Your denial must be in
writing, identify this Notice of Designation, give the reasons for the denial, include.a sopy of all sapporting
Case 2:10-md-02179-CJB-DPC Document 1429-3 Filed 02/28/11 Page 18 of 31

FOIA 2010-026000007

Subj: DEEPWATER HORIZON 16480
April 28, 2010

documents, and must be submitted to Thomas Morrison at the above address. If you deny this designation, the
National Pollution Funda Center will advertise for claims. If we advertise, you may be charged for our costs,

HOMAS MORRISON
U.S. Coast Guard
Ct 2 ef, Cl D 7 4 iON

ec: QBE Underwriting, Ltd, Lioyds Syndicate 1036, Masrs Mendes and Mount Inc., 750 Seventh
Avenue, New York, NY 10019-6829, USA,

Enclosure: (1) Content of Advertisement
(2) Sampls Advertisement
Case 2:10-md-02179-CJB-DPC Document 1429-3 Filed 02/28/11 Page 19 of 31

U.S. Department of DIRECTOR US COAST GUARD STOP 7100
Homeland Security NATIONAL POLLUTION FUNDS CENTER 4200 WILSON BLVD STE 1000
ARLINGTON VA 20598-7100
United States Sia Sa Ca
one:
Coast Guard Toll-Free: 1-800-358-2897 Exi. 36831
PAX: 202-493-6937
Emalt:

April 28, 2010

CERTIFIED MAIL: 7008 3230 0001 9575 2563

Transocean Holdings Incorporated
PO Box 2765
Houston, TX 77252-2765

RE: DEEPWATER HORIZON
FPN: N10036

Dear Sir:

On or about April 21, 2010 an incident under the Oil Pollution Act of 1990 (OPA), 33 USC § § 2701 et. seq,,
occurred approximately 45 miles offshore from Louisiana on Mississippi Canyon Block 252 in the Gulf of Mexico.
The incident involved an explosion and fires on the Mobile Offshore Drilling Unit (MODU) Deepwater Horizon,
which subsequently sank. Our information indicates that the resulting oil discharges include discharges from the
MODU on or above the surface of the water as well as ongoing discharges of oil from the well head. This notice
designates the MODU as a source of an oil discharge pursuant to 33 USC §2714(a) and notifies Transocean
Holdings Incorporated, a responsible party, of its responsibility to advertise for claims. By copy of this letter, we are
also notifying your guarantor, QBE Underwriting Ltd, Lloyds Syndicate 1036, of this designation and its
responsibility for advertising.

Unless you deny designation pursuant to 33 USC §2714(b) you must publicly advertise this designation and the
procedures by which claims may be presented to you. The advertisement must begin within 15 days of the date of
this fetter and must continue for no less than 30 days. Enclosure (1) outlines the required content of this
advertisement and enclosure (2) is a sample advertisement. You may choose to follow this sample but are not
required to do so as long as your advertisement contains the required information. Your advertisement must be
disseminated in such a manner that all potential claimants are notified. To accomplish this, we require that you
advertise in the newspaper(s) having general circulation in the area(s) where claimants may be affected. We also
require that you post notices in marinas, marine supply stores, bait and tackle shops located in the areas impacted by
_ the incideiit” You must also provide direct notification where individuals have been identified’ as receiving damages—~
from your spill. You may propose other methods of advertisement and notification, but they may be used only when
approved in advance by the National Pollution Funds Center. The advertisement must note that a claimant may
present a claim for interim short-term damages representing less than the full amount to which the claimant
ultimately may be entitled. And that payment of such claim shall not preclude recovery for damages not reflected in
the paid or seitled partial claim. Because of the potential magnitude of this incident additional advertising may be
required. : .

You are directed to inform us of the specifics of your advertising, including the name of any newspaper or other
publication in which the advertisement is run, the geographical area covered by the publication, and how often the
advertisement will appear, as appropriate. Send us copies of the advertisement and advise us in writing that you
have begun advertising within 20 days of receipt of this letter. If we do not receive these documents, we will
assume that you did not comply. If you do not comply with these requirements, the National Pollution Funds Center
will advertise for claims. If we advertise, you will be charged for our costs, as well as for the costs of any
administration, adjudication, and payment of claims.

You may deny this designation within 5 days of receipt of this Notice of Designation. Your denial must be in
writing, identify this Notice of Designation, give the reasons for the denial, include a copy of all supporting
Case 2:10-md-02179-CJB-DPC Document 1429-3 Filed 02/28/11 Page 20 of 31

Subj: DEEPWATER HORIZON
April 28, 2010

docyments, and must be submitted to a: the above address. If you deny this designation, the
National Pollution Funds Center will advertise for claims. If we advertise, you may be charged for our costs,

If you have any questions you may contact me at (Er you may contact it ia

Sincere}

5. Coast
GE Claims Division

cc: QBE Underwriting, Ltd., Lloyds Syndicate 1036, Mssre (Mand [Iinc,, 750 Seventh
Avenue, New York, NY 10619-6829, USA.

Enclosure: (1) Content of Advertisement
(2) Sample Advertisement
Case 2:10-md-02179-CJB-DPC Document 1429-3 Filed 02/28/11 Page 21 of 31

United States Staff Symbok: Ca

Phone:
Coast Guard Toll-Free: 1-800-358-2607 Ext. 36831

FAX;

U.S. Department of DIRECTOR US COAST GUARD STOP 7100
Homeland Security NATIGNAL POLLUTION FUNDS CENTER 4200 WILSON BLVD STE 1000
ARLINGTON VA 20588-7100

Aptil 28, 2010

CERTIFIED MAIL: 7008 3230 0001 9575 2532 (BP Corporation North America, Ino)

BP Exploration & Production Inc.

200 Westlake Park Boulevard

Houston, TX 77079
RE: DEEPWATER HORIZON
FPN: N10036

Dear Sir:

On or about April 21, 2010 an incident under the Oil Pollution Act of 1990, 33 USC § § 2701 et. seq., ocourred.
approximately 45 miles offahore from Louisiana on Mississippi Canyon Block 252 in the Gulf of Mexico, The
incident involved an explosion and fires on the Mobile Offaliore Drilling Unit (MODU) Deepwater Horizon, which
subsequently sank, Our arformation indicates that the resulting oil discharges include discharges from the MODU
on or above the surface of the water aa well as ongoing discharges of oil from the well head. This notice designates
the offshore facility as a source of an oi] discharge pureuant to 33 USC § 2714 (a) and notifies BP Exploration &
Production Inc., a responsible party, of its responsibility to advertise for olaims. By copy of this letter, we are also
notifying your guarantor, BP Corporation North America Inc., of this designation and its responsibility for

Unless you deny designation pursuant to 33 USC § 2714 (b) you mmst publicly advertise this designation and the
procedures by which claims may be presented to you. The advertisement must begin within 15 days of the date of
this letter and must continue for no less than 30 days. Enclosure (1) outlines the required content of this
advertisement and enclosure (2) is a sample advertisement. You may choose to follow this sample but are not
required to do so ag long as your advertisement contains the required information. Your advertisement must be
disseminated in such a manner that all potential claimants are notified. To accomplish this, we require that you _

~~ advertise in the newapaper(s) having géneral circalatiod in the aréa(s) whére Claimants may be affected: Wealsa
roanire that you post notioes in marines, marine supply storee, bait and tackle shops located in the ereas impacted by
the incident. You must also provide direct notification where individuals have been identified as receiving damages
from your spill. You may propose other methods of advertisement and notification, but they mey be used only when
approved in advance by the National Pollution Funds Center. The advertisement must note that a claimant may
present a claim for interim short-term damages representing less than the full amount to which the claimant
ultimately may be entitled. And that payment of such claim shall not preclude recovery for damages not reflected in.
the paid or setiled partial claim. Because of the potential magnitude of this incident additional advertising may be
required.
You are directed to inform us of the specifics of your advertising, including the name of any newspaper(s) or other
publication(s) in which the advertisements run, the geographical area covered by the publications, and how often the
advertisement will appear, as appropriate. Send us copies of the advertisement and advise us in writing that you
have begun advertising within 20 days of receipt of this letter. If we do not receive these documents, we will
essume that you did not comply. If you do not comply with these requirements, the National Pollution Funds Center
will advertise for claims. If we advertise, you will be charged for owr costs, as well as for the costs of any
administration, adjudication, and payment of claims.

Case 2:10-md-02179-CJB-DPC Document 1429-3 Filed 02/28/11 Page 22 of 31

Subj: DEEPWATER HORIZON
April 28, 2010

You may deny this deeignation within 5 days of receipt of this Notice of Designation. Your denial must be in
writing, identify this Notice of Designation, give the reasons for the denial, include a copy of all supporting
documents, and must be submitted to Met the above address, If you deny this designetion, the
National Polintion Finds Center will advertise for claims. If we advertise, you may be charged for our costs.

oe” eny questions you may contact me ate or you mey contact JE (is

wb. Coast

ME Claims Division
co! BP Corporation North America, Inc,, 501 Westlake Park Boulevard, Houston, TX 77079

Bnolosure: (1) Content of Advertisement
(2) Sample Advertisement
Case 2:10-md-02179-CJB-DPC Document 1429-3 Filed 02/28/11 Page 23 of 31

Content of Advertisement

Each advertisement/notification is to contain the following information or to indioate where this information may be
contained:

1. Location, date and time of the incident.

2. Geographical area affected.

3. Quantity of oil involved.

4, Name or other description of ths designated source.

5. Name of the responsible party (you).

6. Name, address, felephone mumber, office hours, and workdays of the person or parsons to whom claims ere
to be presented and from whom claim information can be obtained.

Ts The procedures by which a claim may be presanted, including a statement that indicates that claimant may
present a claim for interim short-term damages representing less than the full amount to which the claimant
ultimately may be entiiled. Payment of such claim shall not precinde recovery for damages not reflected in
the paid or settled partial claim.

8. Notification that if you deay or do not resolve a claim within 90 days after the date of submission, the
claimant may then submit the claim to the National Pollution Funds Center (ca), 4200 Wilson Boulevard,
Suite 1000, Arlington, V.A 22203-1804, for our consideration. We will then evaluate ths claim and take

appropriate action,
9, Unless noted below, the advertisement/notification must be in Buelish,
Case 2:10-md-02179-CJB-DPC Document 1429-3 Filed 02/28/11 Page 24 of 31

Sample Advertisement

PUBLIC NOTICE

In accordance with the Oil Pollution Act of 1990 (33 USC § 2714(0)), an offshore oil well located in the Mississippi
Canyon Block area in the Gulf of Mexico has been named as the source of an oil discharge that commenced on or
about April 21, 2010. This spill impacted the Mississippi Canyon Block 252 area, and as the lessee of the area
where the well was located, BP Exploration & Production Inc. is accepting claims for certain uncompensated
damages and removal costs.

Removal costs and damages which may be compensated include removal costs; damage to natural resources;
damage to or loss of real or petsonal property; loss of subsistence use of natural resources; loss of government
revenues: Joss of profits and earnings capacity, and increased cost of public services.

Claims should be in writing, signed by the claimant, for a specified amount; and should include ail evidence to
support the damages, Claims presented may include claims for interim short-term damages representing lees than
the full amount to which tho claimant ultimately may be entitled. It should bs noted that payment of such claim
shall not prechade recovery for damages not reflected in the paid or settled partial claims. Claims should be mailed
to the following address:

[Address to which claims should be sent}

Office hours are from 9:00 AM to 5:00 PM EST, Monday through Friday, except holidays. Claimante may call
{telephone number for claims] for information.

Any claims which are denied or which are not resolved within 90 days after the date of submission to our claims
representative may be submitted to the National Pollution Funds Center (ca), 4200 Wilgon Blvd., Suite 1000,
Axiington, VA 22203-1804 for consideration.
Case 2:10-md-02179-CJB-DPC Document 1429-3 Filed 02/28/11 Page 25 of 31

Content of Advertisement

Each advertisement/notification is to contain the following information or to indicate where this information may be
contained:

1,
2.

3.

Location, date and time of the incident.
Geographical area affected.

Quantity of oil involved.

Name or other description of the designated source.
Name of the responsible party (you).

Name, address, telephone number, office hours, and workdays of the person or persons to whom claims are
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Suite 1000, Arlington, VA 22203-1804, for our consideration. We will then evaluate the claim and take
appropriate action.

Unless noted below, the advertisement/notification must be in English.
Case 2:10-md-02179-CJB-DPC Document 1429-3 Filed 02/28/11 Page 26 of 31

Sample Advertisement

PUBLIC NOTICE

In accordance with the Oil Pollution Act of 1990 (33 USC § 2714(c)), an offshore oi} well located in the Mississippi
Canyon Block area in the Gulf of Mexico bas been named as the source of an oil discharge that commenced on or
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shall not preclude recovery for damages not reflected in the paid or settled partial claims. Claims should be mailed
to the following address:

[Address to which claims should be sent]

Office hours are from 9:00 AM to 5:00 PM EST, Monday through Friday, except holidays. Claimants may call
[telephone number for claims] for information.

Any claims which are denied or which are not resolved within 90 days after the date of submission to our claims
representative may be submitted to the Nationa] Pollution Funds Center (ca), 4200 Wilson Blvd., Suite 1000,
Arlington, VA 22203-1804 for consideration.
Case 2:10-md-02179-CJB-DPC Document 1429-3 Filed 02/28/11 Page 27 of 31

bp

James H, Dupree
President

8P Exploration and Production Inc.

200 WestLake Park Boulevard (77079)
Post Office Box 3092
Houston TX 77263-3092

Direct: 281 366-6610
Fax: 261 366-4300

VIA CERTIFIED MAIL #70091680000063880219
May 3, 2010

U.S. Coast Guard
GE Claims Division
US Coast Guard Stop 7100
4200 Wilson Boulevard, Ste. 1000
Arlington, VA 10598-7100

Re: DEEPWATER HORIZON
FPN: N10036

Dear

This letter is in response to your letter of April 28, 2010, designating BP Exploration &
Production Inc. (“BP Exploration”) as a responsible party for the oil spill arising from the
sinking of the DEEPWATER HORIZON. BP Exploration acknowledges that it is a
“responsible party” under the Oil Pollution Act (OPA), 33 U.S.C. § 2701, et seq., and accepts
its designation as a responsible party pursuant to your letter of April 28, 2010. As such, BP
Exploration is fully committéd ‘to undertaking the oil spill response actions required pursuant to”
OPA.

This incident was the result of an accident on the mobile offshore drilling unit DEEPWATER
HORIZON, which was entirely owned and operated by Transocean. BP Exploration
understands that the Coast Guard has similarly designated Transocean as a responsible party in
this matter. BP Exploration accepts its designation by the Coast Guard as a responsible party
in this matter with a full reservation of rights with respect to any and all other parties.

Please contact the undersigned at NM if you have any questions or comments about
this.

Yours very truly,
Case 2:10-md-02179-CJB-DPC Document 1429-3 Filed 02/28/11 Page 28 of 31

JOHN A.V. NICOLETTI
JAMES F. SWEENEY
DAVID R. HORNIG *
FRANK M. MARCIGLIANG
MICHAEL J. CARCICH
BARBARA A. SHEEHAN
NOOSHIN NAMAZI ¢
ROSERT A. NOVAK
TERRY L. STOLTZ
MICHAEL F. MCGOWAN
VINCENT A. SUBA
SAMUEL C. COLUZZI +
GUERRIC $.D.L. RUSSELL ¢
LINDA DO. LIN

VAL WAMSER ft

KEVIN J.B. O'MALLEY
WILLIAM M4. FENNELL
SCOTT D. CLAUSENT
NATHANIEL L, EICHLER t
FARA KITTON t

JAMES &. MORRIS at
DAVID E. SIGMON ft

* ALSO ADMITTEO IN TEXAS

ft ALSO ADMITTED IN NEW JRROGY
0 ALSO ADMITTED (N CALIFORNIA
4 ALSO ADMITTED (N MARYLAND

Nicoletts Hornig & iveeney

WALL STREET PLAZA
66 PINE STREET
SEVENTH FLOOR
NEW YORK, NY 10005-1801
TELEPHONE 212-220-3830
TELECOPIER 212-220-3780
E-MAIL: general@nicolettihornig.com
WEBSITE: www.nicolettihemig.com

May 3, 2010

VIA REGULA &

— Claims Division

National Pollution Fund Center
United States Coast Guard
4200 Wilson Blvd. Ste. 1000
Arlington, VA 20598-7100

Re: DEEPWATER HORIZON

Your FPN: N10036

Our File:

_ Des it

MICHAEL MARKS COHEN

OF COUNSEL

NEW JERSEY OFFICE:

508 MAIN STREET, SUITE 218
HACKENSACK, NEW JERSEY 07601-5928

TELEPHONE 201-343-0970
TELECOPIER 201-343-5882

Further to our conversation this morning, we confirm that on April 29, 2010,
Transocean Holdings LLC, misidentified in your letter as Transocean Holdings, Inc. (“Transocean”)
received your letter of April 28, 2010 advising that Transocean had been designated a Responsible
Party under the Oil Pollution Act of 1990, 33 U.S.C. §§ 2701 et seg. (“OPA”), in connection with
discharge of oil after the explosion and fire aboard the Mobile Offshore Drilling Unit (“MODU”)
DEEPWATER HORIZON that occurred approximately 45 miles offshore from Louisiana on the
Mississippi Canyon Block 252 in the Gulf of Mexico.

Transocean is cooperating with the Coast Guard and will continue to do so.
Transocean understands that BP received a similar notification letter and is in communication with
BP concerning the required advertisement of the claims process to be established under OPA. More
details about the advertising will be provided in due course.
Case 2:10-md-02179-CJB-DPC Document 1429-3 Filed 02/28/11 Page 29 of 31

May 3, 2010
Page 2

OPA designates Transocean, as the owner of the MODU DEEPWATER
HORIZON, as a responsible party for any oil discharge that occurs on or above the surface of the
water. 33 U.S.C. §2704(b). However, your letter also references “ongoing discharges from the
well head” which are occurring nearly a mile under the surface of the water. To the extent your
letter of April 28, 2010 is intended to designate Transocean as a responsible party for any
underwater discharges of oil from the well head, Tranocean denies your designation of it as the
responsible party. Furthermore, while Transocean will continue to fulfill all of its obligations as a
designated Responsible Party under OPA, it reserves all of its rights and defenses under OPA.

If you have any questions or require any additional assistance from Transocean,

please contact [MM or the undersigned.
Very truly yours,
NICOLETTI HORNIG & SWEENEY

Oil Spill CastaiidiReimbOza7Ont J BtPP G woaestwertieh42Qs3v/ielled 02/28/11 Page 30 of 312/28/2011
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Home > Oil Spill Cost and Reimbursement Fact Sheet
Oil Spill Cost and Reimbursement Fact Sheet

January 11, 2011 | 7:00:00 PM EST
0

tweets

The Obama Administration is committed to holding responsible parties accountable for all eligible costs associated with the BP Deepwater Horizon Oil Spill (Oil Spill). To
date, the Administration has sent nine bills to BP and other responsible parties (Transocean, MOEX, and Andarko) for oil removal costs, of which the first eight have
been reimbursed in full by BP. The Administration will continue to identify and document costs that are related to the Oil Spill in order to ensure appropriate stewardship
weet and accounting of these expenses, maintain accountability to taxpayers, and support current and prospective claims for reimbursement under the Oil Pollution Act of
1990 and other laws, We will continue to bill responsible parties as appropriate.

This factsheet describes:

e Examples of oil spill-related costs that Federal agencies may be incurring;
e@ How Federal agencies have paid for ail spill-related expenses, to date;
e
e

The extent of responsible party reimbursement, to-date; and
Evolving efforts to pursue further reimbursement.

Examples of oil spill-related costs that Federal agencies may be incurring

e Cost of work, services, and materials procured under contract for purposes related to the Oil Spill:

@ Costs that reflect agency activities to mitigate the impacts of the Oil Spill. For example, these costs may include mobilization of resources to coordinate benefit issuance and
the dissemination of public information;

« Costs associated with temporary Federal agency personnel assigned to work on the Oil Spill;

e Costs associated with condition monitoring and assessment (for example, hiring additional personnel {o do public health monitoring);

e Transportation equipment (including but not limited to boats/cutters, aircrafts, and vehicles);

@ Travel expenses and per diem, including a wide range of costs incurred while on travel.

e Office supplies, equipment, and capital and/or maintenance costs for new or expanded field sites;

« Cost of materials, equipment, and supplies related to clean-up;

e Shipping costs and materials;

e Salaries and overtime for fulltime personnel assigned to work on the Oil Spill (including administrative personnel, and D.C.- and field-based program officers).

How Federal agencies have paid for oil spill-related expenses, to-date

Funds spent to-date mainly come from either the “emergency fund” within the Oil Spill Liability Trust Fund (OSLTF) or from agencies’ individual appropriations

Costs paid out of the Oil Spill Liability Trust Fund (OSLTF)

A subset of the Oil Spill Liability Trust Fund (OSLTF) called the Emergency Fund is available to pay for pollution removal activities, as well as the initiation of natural resource
damage assessments, The Federal On-Scene Coordinator (FOSC), who oversees oil spill response efforts, approves removal activities to be paid for out of the fund. The FOSC is a

representative of the lead Federal agency for the response. The U.S. Coast Guard (USCG) plays this role in marine oil spills.

If other Federal, state, local, or tribal agencies assist the FOSC with removal activities, they can sign an agreement called a Pollution Removal Funding Authorization (PRFA)z2 which
provides funding of those removal activities out of the OSLTF, The PRFA specifies which removal activities will be reimbursed, and establishes a dollar limit—or "ceiling." The
agencies subsequently obligate funds against that ceiling, and are reimbursed from the OSLTF Emergency Fund.

Costs paid out of agency appropriations
Unless approved through reimbursable agreements with the FOSC, as described above, agencies’ oil spil-related expenses generally come out of their base appropriations. A

limited number of agencies recently received supplemental appropriations through H.R. 4899, making emergency supplemental appropriations for FY2010, to pay for certain spill-
related activities (e.g., economic recovery assistance, responding to impacts on fisheries, food safety monitoring, and a scientific study of the effects of dispersants).

The extent of responsible party reimbursement, to date

Responsible parties in connection with an oil spill from an offshore facility are financially responsible for all removal costs associated with the oil spill which could include such items
as payment to cleanup contractors, equipment used in removal operations (generally at established standard rates or lease costs), testing to identify the type and source of oil,
disposal of recovered oil and oily debris, and preparation of associated cost documentation.

To date, the Administration has sent eight bills to responsible parties for the costs of removal operations relating to the BP Deepwater Horizon Oil Spill. These bills correspond to
costs approved by the FOSC — and the subsequent payments are deposited into the OSLTF. The first eight bills have been paid in full by BP, totaling $606 million, and a ninth was
sent on January 11. The bills are summarized below:

Bill number Date sent Amount Status

1 5/27/2010 $1.8 million paid
2 6/3/2010 $69,09 million paid
3 6/21/2010 $51.4 million paid
4 7/13/2010 $99.7 million paid
5 8/10/2010 $167.9 million paid

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6 9/08/2010 $128.5 million paid
7 10/12/2010 $62.6 million paid
8 11/18/2010 $25.4 million paid
9 1411/2011 $26,2 million pending

The bills cover three main categories of costs:

e@ USCG Direct Costs: Examples of direct costs include the purchase and rental of response and personal protective equipment, the cost of contract services,
telecommunications costs, and travel orders. Direct costs are captured by the USCG accounting system and are charged directly against the Oil Spill Liability Trust Fund.

e USCG Indirect Costs: These are the costs of USCG assets operating in support of the response, including aircraft, cutters, boats, vehicles and people. The amount charged is
based on standard rates for use of USCG assets, supported by documentation and validation for the amount of time each asset was working on the response,

e@ Other Agency and State Costs: The bills also cover other Federal agency and State costs that are captured through reimbursable agreements established between the FOSC
and the partner agency. The partner agency must provide cost documentation to support reimbursement for actual expenses incurred under the terms of the agreement. For
billing purposes, prior to Bill #8 responsible parties were invoiced 75% of the obligated costs for reimbursable agreements. Starting with Bill #8, invoices account for the actual
expenses incurred.

Some examples of activities covered by reimbursable agreements include:

e Federal agency operation of ships, aircraft and boats; scientific determination of clean-up needs; deployed personnel; and other expenses;
e National Guard Bureau support for deployed personnel, activation and deployment of National Guard from LA, MS, AL and FL, and for other expenses;
e State support for removal operations, scientific determination of clean-up needs, and other expenses.

Evolving efforts to pursue further reimbursement

The Federal Government is evaluating reimbursement for costs other than oil removal costs covered in the bills described above. To that end, the Office of Management and Budget
(OMB) issued guidance on July 1, 2010, establishing guidelines for Federal agencies to use when identifying and documenting costs related to the Oil Spill. This will assist the
Department of Justice (DOJ) — in consultation with the Coast Guard and other agencies — in determining where further reimbursement should be pursued.

2 When a military entity signs a comparable reimbursable agreement, it is referred to as a Military Interdepartmental Purchase Request (MIPR), Removal costs that can be covered
by a PRFA or MIPR are defined by Federal Water Pollution Control Act section 311(a), 33 USC 1321(a).

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